Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 1 of 22 PageID: 7




                      Exhibit A
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 2 of 22 PageID: 8

• . CT Corporation                                                           Service of Process
                                                                             Transmittal
                                                                             05/19/2020
                                                                             CT Log Number 537687758
   TO;        MichaeL Johnson, Legal Assistant
              The Hartford
              1 Hartford PIz, HO-l-09
              Hartford, CT 06155-0001

   RE:        Process Served in New .Jersey

   FOR:       Hartford Insurance Company of the Midwest (Domestic State: IN)




   ENCLOSED AIlE COPIES OF LEGAL PIlOCE88 RECEIVED SY THE 8TATUTOIIY AGENT OF THE ABOVE COMPANY M FOLLDWSc:

   TITLE OF ACTION:                     Francis J. DeVito, Esquire, Pltf. vs. Hartford Insurance Company of the Midwest,
                                        Dft_
   DOCUMEIfT(.) SERVED:

   COURT/AGENCY:                        None Specified
                                        Cas. # BERLOO263620
   NATURE OF ACT1D11:                   Insurance litigation
   ON WHOM PROCESS w.u SERVED;          The Corporation Trust Company. West Trenton, NJ
   DATE AND HOUR OF SERVICE:            By Certified Mall on 05/19/2020 postmarked on 05/1812020
   oIURISDICTION SEIlVED =              New Jersey
                                        None Specified
   ATTORNEY(S) I SENDEIl(S)c:           None Specified
   ACTION mIlS;:                        CT has retained the current log, Retain Date: 0512012020, Expected Purge Date:
                                        05/25/2020
                                        Image SOP
                                        Email Notification, Mlcha.l Johnson MICHAELJOHNSONIi>THEHARTFORD_COM
                                        Email Notificatlon.FionaRosenbergFfona.Rosenberg@thehartford.com

   BIGNED:                              The Corporation Trust Company
   ADDIIE88:                            155 Federal St Ste 700
                                        Boston, MA02110-1n7
   Far QllastIDII.:                     800-448-5350
                                        MajorAccountTeam1@Wolterskluwer.com




                                                                             Page 1 of 1 ITG
                                                                             Information displayed on this tl'llnsmlttaL Is for CT
                                                                             Corpol'lltlon's record keeping purposes only and Is pl'OY!ded to
                                                                             the recipient for quick reference, This information does not
                                                                             constitute II lepl opinion a to the nllture of BCtion. the
                                                                             lIfIlount of dll.maees. the III'ISWI!!r dll.te. or IInY informlltion
                                                                             contained in the documents themselves, Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only. not contents,
                         .... .. ::.;
                                                                                             '. :,;.
                    Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 3 of 22 PageID: 9




                                                                                            II                             .....
                                                                                                               U.S.POSTAGE»PlTNEYBOWES



                                          \\\
                                                                                                                .. ,....,::;;
                                                                    m                                                   -$-
STATE OF NEW JERSEY                                                                              .         "
DEPARTMENT OF BANKING AND INSURANCE                                                                        .
PO BOX 325                                                                                   •             . ZIP 08628
                                                                                                           : 02 4"
                                                                                                                          008 00°
                                                                                                                             •
TRENTON, NJ 08625-0325                                                                               '..     0000372837MAY 18 2020
                                         7018 2290 0001 8184 1037

        RETURN RECEIPT
          REQUESTED




                                         Corporation Trust Company
                                         Hartford Insurance Company of the Midwest
                                         820 Bear Tavern Road
                                         Ewing, NJ 08628
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 4 of 22 PageID: 10




                                     S5>tate of                   31ersep
                                   Department of Banking and Insurance
                                       Office of the Commissioner
     Phil Murphy                                   PO Box 325                                      Marlene Caride
      Govemor                                 Trenton, NJ 08625-0325                               Commissio"er
     Sheila OJiver
     Lt. GovenlOr                                Tel (609) 633-7667


CERTIFIED MAIL                                                                                 5/11/2020
RETURN RECEIPT REQUESTED


Attention:
CORPORATION TRUST COMPANY
HARTFORD INSURANCE COMPANY OF THE MIDWEST
820 BEAR TAVERN ROAD
WEST TRENTON, NJ 08628



 RE: Francis J. DeVito, Esq. v. Hartford Insurance Company of the
 . Midwest, et al.
     Superior Court of New Jersey, Bergen County Law Division
     Docket No.: BER-L002636-20


Dear Sir/Madam:

You are hereby notified that on this date the Commissioner of the New Jersey Department of
Banking and Insurance has accepted original service of process on your behalf in the above-
captioned matter. The documents served are enclosed herein.

By copy of this letter I am advising the attorney for the Plaintiff(s) in this matter that these
documents have been transmitted to you, and confirming that the Commissioner of Banking
and Insurance is not authorized to receive service of any further documents in this action.


                                                                      Very Truly Yours,




c:   Francis J. DeVito, PA                                            Debra A. Mullen
     260 Moonachie Road                                               Administrative Assistant
     Suite 305
     Moonachie, NJ 07074




            New Jerset} is an Equal Opportunih} Employer   f.if
                                          Visit us on tile Web at dobi.nj.gau
                                                                  Printed on Recycled Paper and ReCl}clable
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 5 of 22 PageID: 11



      FRANCIS J. DeVITO, P.A.
      250 Moonachie Road
      Suite 305
      Moonachie, New Jersey 07074
      (201) 487-7575
      I.D.#244461968
      ------------------------------------------------x
                                                          SUPERIOR COURT OF NEW JERSEY
      Francis J. DeVito, Esquire,                         LAW DIVISION: BERGEN COUNTY
                                                          DOCKET NO.: BER-L-002636-20

               Plaintiff(s),                                   CIVIL ACTION

      v.

      Hartford Insurance Company
      of the Midwest,

                                                                     SUMMONS
               Defendant(s),

      ----------------------------------------------------x
      FROM THE ST ATE OF NEW JERSEY
      TO THE DEFENDANT(S) NAMED ABOVE: HARTFORD INSURANCE COMPANY
                                                                 OF THE MIDWEST

               The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
      Jersey. The Complaint attached to this Summons states the basis for this lawsuit. If you dispute
      this Complaint, you or your attol11ey must file a written answer or motion and proof of service
      with the deputy clerk of the Superior Court in the county listed above within 35 days from the date
      you received this Summons, not counting the date you received it. (The address of each deputy
      clerk of the Superior Court is provided). If the Complaint is one in foreclosure, then you must file
      your written answer or motion and proof of service with the Clerk of the Superior Court, Hughes
      Justice Complex, P.O. Box 971, Trenton, NJ 08625. A filing fee of$175.00 payable to the Clerk
      of the Superior Court and a completed Case Infol111ation Statement (available from the deputy
      clerk of the Superior Court) must accompany your answer or motion when it is filed. You must
      also send a copy of your answer or motion to plaintiffs attol11ey whose name and address appear
      above, or to plaintiff, if no attol11ey is named above. A telephone call will not protect your rights;
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 6 of 22 PageID: 12



      you must file and serve a written answer or motion (with fee and completed Case Information
      Statement) if you want the court to hear your defense.
             If you do not file and serve   awritten answer or motion within 35 days, the court may enter
      a judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment
      is entered against you, the Sheriff may seize your money, wages or property to pay all or part of
      the judgment.
             If you cannot afford an attomey, YOli may call the Legal Services office in the county where
      you live. A list of these offices is provided. [fyou do not have an attomey and are not eligible for
      free legal assistance, you may obtain a referral to an attomey by calling one of the Lawyer Referral
      Services. A list of these numbers is also provided.


      Dated: May 7, 2020                      9rlicfie«e 9rl. Smitfi
                                              Michelle M. Smith, Clerk of the Superior Court

      Name of defendant(s) to be served:      Hartford Insurance Company of the Midwest
                                              clo New Jersey Department of Banking and Insurance
                                              20 West State Street
                                              Trenton, New Jersey 08625-0325
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 7 of 22 PageID: 13


      ATLANTIC COUNTY:
      Deputy Clerk of the Superior Court         ESSEX COUNTY:
      Civil Division, Direct Filing              Deputy Clerk of the Superior Court
      1201 Bacharach Blvd. First FI.             237 Hall of Records
      Atlantic City, NJ 08401                    465 Dr. Martin Luther King, Jr. Blvd.
      LAWYER REFERRAL                            Newark, NJ 07102
      (609) 345-3444                             LAWYER REFERRAL
      LEGAL SERVICES                             (973) 622-7753
      (609) 348-4200                             LEGAL SERVICES
                                                 (973) 624-4500
      BERGEN COUNTY:
      Deputy Clerk of the Superior Court         GLOUCESTER COUNTY:
      Case Processing Section, Room 119          Deputy Clerk of the Superior Court
      Justice Center, 10 Main st.                Civil Case Management Office
      Hackensack, NJ 07601-0769                  Attn: Intake
      LAWYER REFERRAL                            First FI., Court House
      (201) 488-0044                             I North Broad Street., P.O. Box 129
      LEGAL SERVICES                             Woodbury, NJ 08096
      (201) 487-2166                             LAWYER REFERRAL
                                                 (856) 848-4589
      BURLINGTON COUNTY:                         LEGAL SERVICES
      Deputy Clerk of the Superior Court         (856) 848-5360
      Central Processing Office
      Attn: Judicial Intake                      HUDSON COUNTY:
      First F., Courts Facility                  Deputy Clerk of the Superior Court
      49 Rancocas Rd.                            Superior Court, Civil Records Dept.
      Mt. Holly. NJ 08060                        Brennan Court House - 1st Floor
      LAWYER REFERRAL                            583 Newark Ave.,
      (609) 261-4862                             Jersey City, NJ 07306
      LEGAL SERVICES                             LAWYER REFERRAL
      (609) 261-1088                             (201) 798-2727
                                                 LEGAL SERVICES
      CAMDEN COUNTY:                             (201) 792-6363
      Deputy Clerk of the Superior Court
      Civil Processing Office                    HUNTERDON COUNTY:
      1 st FI., Hatl of Records                  Deputy Clerk of the Superior Court
      101 S. Fifth St.                           Civil Division
      Camden, NJ 08103                           65 Park Avenue
      LAWYER REFERRAL                            Flemington, NJ 08862
      (856) 964-4520                             LAWYER REFERRAL
      LEGAL SERVICES                             (908) 735-2611
      (856) 964-2010                             LEGAL SERVICES
                                                 (908) 782-7979
      CAPE MAY COUNTY:
      Deputy Clerk of the Superior Court         MERCER COUNTY:
      Central Processing Office                  Deputy Clerk of the Superior Court
      9 N. Main Street                           Local Filing Office, Courthouse
      Box DN-209                                 175 South Broad St., P.O. Box 8068
      Cape May Court House, NJ 08210             Trenton, NJ 08650
      LAWYER REFERRAL                            LAWYER REFERRAL
      (609) 463-0313                             (609) 585-6200
      LEGAL SERVICES                             LEGAL SERVICES
      (609) 465-3001                             (609) 695-6249

      CUMBERLAND COUNTY:                         MIDDLESEX COUNTY:
      Deputy Clerk of the Superior Court         Deputy Clerk of the Superior Court
      Civil Case Management Office               Administration Building
      Broad & Fayette Sts., P.O. Box 615         Third Floor
      Bridgeton, NJ 08302                        1 Kennedy Sq., P.O. Box 2633
      LAWYER REFERRAL                            New Brunswick, NJ 08903-2633
      (856) 692-6207                             LAWYER REFERRAL
      LEGAL SERVICES                             (732) 828-0053
      (856) 451-0003                             LEGAL SERVICES
                                                 (732) 249-7600
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 8 of 22 PageID: 14
      MONMOUTH COUNTY:
      Deputy Clerk of the Superior Court         UNION COUNTY:
      71 Monument Park                           Deputy Clerk of the Superior Court
      P.O. Box 1262                              1st FI., Court House
      Court House, East Wing                     2 Broad Street
      Freehold, NJ 07728·1262                    Elizabeth, NJ 07207
      LAWYER REFERRAL                            LAWYER REFERRAL
      (732) 431·5544                             (908) 353·4715
      LEGAL SERVICES                             LEGAL SERVICES
      (732) 866·0020                             (908) 354·4340

      MORRIS COUNTY:                             WARREN COUNTY:
      Deputy Clerk of the Superior Court         Deputy Clerk of the Superior Court
      Civil Division                             Civil Division Office
      30 Schuyler PI., P.O. Box 910              Court House
      Morristown, NJ 07960·0910                  Belvidere, NJ 07823·1500
      LAWYER REFERRAL                            LAWYER REFERRAL
      (973) 267·5882                             (973) 267·5882
      LEGAL SERVICES                             LEGAL SERVICES
      (973) 285·6911                             (908) 475·2010

      OCEAN COUNTY:
      Deputy cf the Superior Court
      Court House, Room 119
      118 Washington Street
      Toms River, NJ 08754
      LAWYER REFERRAL
      (732) 240·3666
      LEGAL SERVICES
      (732) 341·2727

      PASSAIC COUNTY:
      Deputy Clerk of the Superior Court
      Civil Division
      Court House
      77 Hamilton SI.
      Paterson, NJ 07505
      LAWYER REFERRAL
      (973) 278·9223
      LEGAL SERVICES
      (973) 345·7171

      SALEM COUNTY:
      8eputy Clerk of the Superior Court
      92 Market SI., P.O. Box 18
      Salem, NJ 08079
      LAWYER REFERRAL
      (856) 935·5629
      LEGAL SERVICES
      (856) 845·5360

      SOMERSET COUNTY:
      Deputy Clerk of the Superior Court
      Civil Division Office
      New Court House, 3rd FI.
      P.O. Box 3000
      Somerville, NJ 08876
      LAWYER REFERRAL
      (908) 685·2323
      LEGAL SERVICES
      (908) 231·0840

      SUSSEX CO
      Deputy Clerk of the Superior Court
      Sussex County Judicial Center
      43-47 High Street
      Newton, NJ 07860
      LAWYER REFERRAL
      (973) 267·5882
      LEGAL SERVICES
      (973) 383·7400
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 9 of 22 PageID: 15



FRANCIS J. DeVITO, P.A.
250 Moonachie Road
Suite 305
Moonachie, New Jersey 07074
(201) 487-7575
1.0.#244461968

------------------------------------------------x
                                                        SUPERIOR COURT OF NEW JERSEY
 Francis J. DeVito, Esquire,                            LAW DIVISION: BERGEN COUNTY
                                                        DOCKET NO.:

         Plaintiff(s),                                                CIVIL ACTION

v.

Hartford Insurance Company
of the Midwest,

                                                                   COMPLAINT FOR
         Defcndant(s),                                         DECLARATORY JUDGMENT

----------------------------------------------------x
         Plaintiff, Francis J. DeVito, Esquire (hereinafter "DeVito") a New Jersey Attorney, sues

 Defendant, Hartford Insurance Company of the Midwest, {"Defendant"), for declaratory reliefand

 alleges as follows:


                                                         PARTIES


     I. Plaintiff, Francis 1. DeVito, Esquire is a New Jersey Attorney at Law with his principal place of

         business at 250 Moonachie Road, Moonachie, New Jersey 07074 ("The Property").

     2. Defendant Hartford Insurance Company of the Midwest (hereinafter "Hartford")              IS   upon

         information and belief, a corporation with its principal place of business at One Hartford Plaza,

         Hartford, Connecticut 06155.
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 10 of 22 PageID: 16



                                                   JURISDICTION

    3. This Court has jurisdiction over this action for declaratory relief pursuant to the laws of the State

       of New Jersey.

    4. Defendant are authorized to do business and are doing business in New Jersey. Defendant are

       transacting the business of insurance in the State of New Jersey and the basis of this suit arises

       out of such conduct.

                                                       VENUE

    5. In this case, Plaintiff is seeking a declaration finding that, inter alia, the subject insurance policy

       provides insurance coverage for Plaintiff relating to loss due to recent events including but not

       limited to, the Coronavims (COVID-19), and/or govemment closures.

    6. Pursuant to New Jersey law, the Court has personal jurisdiction over Defendant because it is a

       non-resident entity that personally or through an agent contracted to insure a person, property, or

       risk located within the State of New Jersey at the time of contracting, and Defendant thereby

       submitted to the jurisdiction of the courts of the State of New Jersey for any cause of action arising

        from such contracting to insure.

    7. Venue is proper in this Court because the Plaintiffs business and property as issue are located

       within the venue of this Court in Bergen County. Plaintiff entered into the subject insurance

       policy in New Jersey, the subject insurance policy provides insurance to Plaintiff and its property

        located in New Jersey and pursuant to the policy, the insured premise is located in New Jersey.

                                                        FACTS

    8. Defendant Hartford issued a Commercial Property Insurance Policy, being policy number 13 SBA

       NQ3715 SB to Plaintiff with effective dates of July 27, 2019 through July 27,2020. A tme and

       correct copy of the Declaration Page of the Policy is attached hereto as Exhibit "A".
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 11 of 22 PageID: 17



    9. The plaintiff DeVito operates a law office at the above described location.

    10. Plaintiff faithfully paid all Policy premiums to Defendant.

    II. The Policy is currently in full effect, providing commercial property coverage, improvements and

       betterments coverage, building and personal property coverage, business income and extra

       expense coverage, and additional coverages.

    12. The Policy provides for coverage for direct physical loss or damage to covered property at the

       insured premise.

    13. The Policy provides coverage for direct physical loss unless the loss is excluded or limited in the

       Policy.

    14. The Policy does not provide any exclusion due to losses to business or property.

    15. The State of New Jersey issued an executive order declaring a State of Emergency in New Jersey

       on March 9, 2020. As a direct and proximate result of the foregoing and as a further result of

       other subsequent Executive Orders, Plaintiff will suffer a loss of business and will continue to do

       so for the foreseeable future.

    16. Commencing on or about March 9, 2020 Plaintiff was subject to a business interruption, loss of

       service, as a result of the Coronavirus (COvID-19), and/or government closures.

    17. As a direct and proximate result of recent events including but not limited to, the Coronavirus

       (COVID-19), and/or government closures, Plaintiffs business was interrupted, and business

       income was lost.

    18. Plaintiffs intemlption of its law business, and loss of business income, is continuing and will

       continue for the foreseeable future.

    19. At all material times, there is and has been directly physical loss of or damage to covered property

       at the insured premise caused by or resulting from any covered cause of loss.
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 12 of 22 PageID: 18



    20. Plaintiff timely provided to Defendant notice of claim under all applicable provisions of the

       Policy.

    21. Defendant received the Claim submitted by Plaintiff.·

    22. Defendant has denied Plaintiffs claims.

    23. Due to the nature of Plaintiffs claim submitted to Defendant, time is of the essence. Under

       these circumstances, the prompt, orderly, and efficient payment of Plaintiffs Claims under the

       Policy are required.

    24. As a direct and proximate result of recent events including but not limited to, the Coronavirus

       (COVlD-19), and/or government closures, Plaintiff has incurred, and continue to incur, a

       substantial loss of business income, additional expenses, loss of use of the Property, business

       interruption, property damage, perishable goods, and service inten-uption, covered under the

       Policy.

    25. Plaintiff seeks a declaratory judgment that the recent events including but not limited to, the

       Coronavirus (COVlD-19), and/or government closures, have triggered coverage under the

       Policy because, inter alia, the Policy does not have an exclusion for viral pandemic.

    26. Plaintiff has engaged the undersigned counsel to represent it in this action and has agreed to pay

       a reasonable fee for the services rendered. Plaintiff seeks its attorney's fees and costs.

    27. All conditions precedent to bringing this action have been performed, waived, satisfied, or have

       otherwise occurred.

                                     COUNT I - DECLARATORY RELIEF

    28. Plaintiff rea lieges and reasserts the allegations contained in Paragraphs 1 through 31 as if fully

       set forth herein.
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 13 of 22 PageID: 19



    29. Plaintiff seeks declaratory relief under the New Jersey Declaratory Judgement Act NJSA 2A: 16-

       50 et.seq.

    30. A current dispute exists between the Plaintiff and Defendant as to whether the Policy provides

       coverage for Plaintiff due to recent events including but not limited to, the Coronavirus (COVID-

        19), and/or government closures.

    31. The Policy fully and completely provides coverage for Plaintiffs Claims.

               a. Plaintiff is e interested and/or in doubt about its rights under the Policy, and seeks

                    determination by the Court of a question of construction arising under the Policy and

                    to obtain a declaration of Plaintiffs rights, status, or other equitable or legal relations

                    under the Policy.

    32. There is a bona fide dispute between the parties and an actual, present and practical need for a

       declaration as to whether the Policy provides coverage for Plaintiffs Claims.

                                         COUNT II-BREACH OF CONTRACT

    33. Plaintiff repeats and reasserts the allegations contained in Paragraphs I through 36 as if fully set

       forth herein.

    34. By virtue of the Defendant's denial of Plaintiffs claim Defendant has unlawfully breached their

       contract of insurance.

    35. As a result thereof Plaintiff has and will continue to suffer damages.

                              CERTIFICATION PURSUANT TO RULE 4:5-1 AND 4:6-1

      I hereby certify to the best of my knowledge and belief:

               I. The matter in controversy in this action is not the subject of any other pending

                    action.

               2. No other arbitration proceeding is currently contemplated.
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 14 of 22 PageID: 20




                                              JURY DEMAND


       Plaintiff hereby demands a trial by jury on all damage claims.


                                  DESIGNATION OF TRIAL COUNSEL


       Francis 1. DeVito, Esq. is hereby designated as trial counsel.


       WH EREFORE, Plaintiff demands judgment against the Defendant as follows:

           A. Declaring that the policy of insurance in this matter does in fact provide coverage to the

               Plaintiff under the circumstances of this matter;

           B. For damages, both compensatory and punitive;

           C. For attorney fees and costs; and

           D. For such other relief as the Court deems fair and equitable.

                                                     FRANCIS J. DeVITO, P.A.
                                                     Attorney for Plaintiff

                                                     By:   t:rallci$.1   ne Y"ito
                                                           Francis 1. DeVito


           Dated: May 4, 2020
15 CaseThis Spectrum Policy consists of Document
         2:20-cv-07201-BRM-ESK          the Declarations,
                                                     1-1 Coverage   Forms, Common
                                                          Filed 06/12/20             Policy
                                                                               Page 15    of Conditions
                                                                                             22 PageID: and21any
37     other Forms and Endorsements issued to be a part of the Policy. This insurance is provided by the stock
NQ     insurance company of The Hartford Insurance Group shown below.
SBA

 INSURER:       HARTFORD    INSURANCE          COMPANY OF THE MIDWEST
               ONE HARTFORD       PLAZA,        HARTFORD,   CT 06155
 COMPANY CODE: G

 Policy Number:    13 SBA NQ3715          SB

SPECTRUM POLICY DECLARATIONS


Named Insured and Mailing Address:                 FRANCIS J DEVITO ESQUIRE
(No., Street, Town, State, Zip Code)               SEE FORM SS 12 35
                                                   250 MOONACHIE RD STE 305
                                                   MOONACHIE          NJ  07074

 Policy Period:                 From        07/27/19           To     07/27/20        1     YEAR
 12:01 a.m., Standard time at your mailing address shown above. Exception: 12 noon in New Hampshire.
 Name of Agent/Broker: JOHN T COSTA AGENCY
 Code: 658269

 Previous Policy Number: 13 SBA NQ3715

 Named Insured is: INDIVIDUAL

 Audit Period: NON-AUDITABLE

Type of Property Coverage: SPECIAL

 Insurance Provided: In return for the payment of the premium and subject to all of the terms of this policy, we
 agree with you to provide insurance as stated in this policy.

 TOTAL ANNUAL PREMIUM IS:             $1,476
 IN RECOGNITION OF THE MULTIPLE COVERAGES INSURED WITH THE HARTFORD,                           YOUR
 POLICY PREMIUM INCLUDES AN ACCOUNT CREDIT.




      NJPLGA SURCHARGE:               $              9.00




                        Countersigned by                                                           06/10/19
                                                      Authorized Representative                       Date




Form S5 00 02 1206                                           Page 001 (CONTINUED ON NEXT PAGE)
Process Date: 06/10/19                                                  Policy Expiration Date: 07/27/20
  Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 16 of 22 PageID: 22
SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 13 SBA NQ3715

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 001           Building:   001

250 MOONACHIE      RD
MOONACHIE                  NJ 07074

Description of Business:
LAWYERS & LAW FIRMS


Deductible:   $    500 PER OCCURRENCE




BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   $      93,500



 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $      5,000


LOSS PAYEE:       APPLIES




Form SS 00 02 12 06                                          Page 002 (CONTINUED ON NEXT PAGE)
Process Date: 06/10/19                                                Policy Expiration Date: 07/27/20
  Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 17 of 22 PageID: 23
SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER:      13 SBA NQ3715


Location(s}, Building(s}, Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 001          Building:   001



PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION

SUPER STRETCH
FORM: SS 04 74
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.


LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 1206                                         Page 003 (CONTINUED ON NEXT PAGE)
Process Date: 06/10/19                                                Policy Expiration Date: 07/27/20
  Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 18 of 22 PageID: 24
SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 13 SBA NQ3715




PROPERTY OPTIONAL COVERAGES APPLICABLE     LIMITS OF INSURANCE
    TO ALL LOCATIONS

BUSINESS       INCOME AND EXTRA EXPENSE
COVERAGE                                   12 MONTHS ACTUAL LOSS SUSTAINED
COVERAGE       INCLUDES THE FOLLOWING
COVERAGE       EXTENSIONS:

ACTION OF CIVIL AUTHORITY:                 30 DAYS
EXTENDED BUSINESS INCOME:                  30 CONSECUTIVE    DAYS


EMPLOYEE DISHONESTY:       FORM SS 04 42
 DEDUCTIBLE:  $ 100
  EACH OCCURRENCE                          $    20,000
           ,
EQUIPMENT BREAKDOWN COVERAGE
 COVERAGE FOR DIRECT PHYSICAL LOSS
 DUE TO:
  MECHANICAL BREAKDOWN,
  ARTIFICIALLY GENERATED CURRENT
  AND STEAM EXPLOSION

THIS ADDITIONAL COVERAGE       INCLUDES
THE FOLLOWING EXTENSIONS
  HAZARDOUS SUBSTANCES                     $    50,000
  EXPEDITING EXPENSES                      $    50,000

MECHANICAL BREAKDOWN COVERAGE ONLY
APPLIES WHEN BUILDING OR BUSINESS
PERSONAL PROPERTY IS SELECTED ON
THE POLICY

IDENTITY RECOVERY       COVERAGE           $    15,000
FORM SS 41 12




Form SS 00 02 12 06                            Page 004 (CONTINUED ON NEXT PAGE)
Process Date: 0 6/10/19                                     Policy Expiration Date: 07/27/20
SPECTRUM    POLICY DECLARATIONS
 Case 2:20-cv-07201-BRM-ESK      (Continued)
                            Document 1-1 Filed 06/12/20 Page 19 of 22 PageID: 25
POLICY NUMBER: 13 SBA NQ3715


BUSINESS LIABILITY                      LIMITS OF INSURANCE

 LIABILITY AND MEDICAL EXPENSES         $1,000,000

 MEDICAL EXPENSES· ANY ONE PERSON        $    10,000

 PERSONAL AND ADVERTISING INJURY        $1,000,000



 DAMAGES TO PREMISES RENTED TO YOU       $   300,000
     ANY ONE PREMISES

 AGGREGATE LIMITS
     PRODUCTS·COMPLETED OPERATIONS       $2,000,000

      GENERAL AGGREGATE                  $2,000,000


AMENDMENT OF LIQUOR LIABILITY
EXCLUSION: FORM SS 40 34
DESCRIPTION OF ACTIVITY:
NONE

BUSINESS LIABILITY   OPTIONAL
COVERAGES




Form SS 00 02 1206                           Page 005 (CONTINUED ON NEXT PAGE)
Process Date: 06/10/19                                  Policy Expiration Date: 07/27/20
  Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 20 of 22 PageID: 26

SPECTRUM POLICY DECLARATIONS (Continued)
·POLICY NUMBER: 13 SBA NQ3715

BUSINESS LIABILITY OPTIONAL COVERAGES    LIMITS OF INSURANCE
   (Continued)

HIRED/NON-OWNED AUTO LIABILITY           $1,000,000
FORM:   SS 01 69

POLLUTION EXCLUSION      - LIMITED
EXCEPTION
FORM SS 04 83




Form SS 00 02 12 06                         Page 006 (CONTINUED ON NEXT PAGE)
Process Date: 06/10/19                                  Policy Expiration Date: 07/27/20
     Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 21 of 22 PageID: 27
SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 13 SBA NQ3715


     MORTGAGE HOLDER
     SEE FORM IH 12 00



     LOSS PAYEE                                      LEAF, ISAOA c/o INSURANCESERVICES
     FORM SS 12 12                                   CENTER
                                                     po BOX 979127
                                                     MIAMI, FL. 33197
                LOAN NUMBER:                         1005103971001
                   PROPERTY:                         BUSINESS PERSONAL PROPERTY
                                                     TOSHIBA 4555C COPIER SYSTEM




Form Numbers of Forms and Endorsements that apply:


SS    00   01   03   14     SS 00 OS    12 06       SS 00   07 07   OS       SS   00   08   04   OS
SS    00   64   09   16     SS 84 IS    09 07       SS 12   35 03   12       SS   01   30   04   08
SS    01   69   09   09     SS 10 39    07 OS       SS 89   93 07   16       SS   00   60   09   IS
SS    00   61   09   15     SS 04 19    07 OS       SS 04   22 07   OS       SS   04   30   07   OS
SS    04   39   07   OS     SS 04 41    03 18       SS 04   42 03   17       SS   04   44   07   OS
SS    04   45   07   OS     SS 04 46    09 14       SS 04   47 04   09       SS   04   74   09   07
SS    04   78   12   17     SS 04 80    03 00       SS 04   83 03   00       SS   04   86   03   00
SS    40   18   07   OS     SS 40 93    07 OS       SS 41   12 12   17       SS   41   51   10   09
SS    41   63   06   11     IH 10 01    09 86       SS OS   47 09   15       SS   SO   19   01   15
SS    SO   38   10   03     SS 51 10    03 17       SS 51   11 03   17       SS   12   12   03   92
SS    40   34   03   00     IH 99 40    04 09       IH 99   41 04   09       SS   83   76   01   15
      IH   12   00   11 85 ADDITIONAL    INSURED   - LOSS   PAYEE
      IH   12   00   11 85 MORTGAGEE




Form SS 00 02 12 06                                         Page 007
Process Date: 06/10/19                                                   Policy Expiration Date: 07/27/20
Case 2:20-cv-07201-BRM-ESK Document 1-1 Filed 06/12/20 Page 22 of 22 PageID: 28




                        Civil Case Information Statement
 Case Details: BERGEN I Civil Part Docket# L·002636·20

Case Caption: FRANCIS J. DEVITO, ESQUIRE VS                      Case Type: OTHER INSURANCE CLAIM (INCLUDING
HARTFORDINSURANC                                                 DECLARATORY JUDGMENT ACTIONS)
Case Initiation Date: 05/04/2020                                 Document Type: Complaint with Jury Demand
Attorney Name: FRANCIS J DE VITO                                 Jury Demand: YES - 6 JURORS
Firm Name: FRANCIS J. DE VITO, PA                                Is this a professional malpractice case? NO
Address: 250 MOONACHIE ROAD SUITE 305                            Related cases pending: NO
MOONACHIE NJ 07074                                               If yes, list docket '1umbers;
Phone: 2014877575                                                00 you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF: Francis J. DeVito, Esquire             transaction or occurrence)? NO
Name of Defendant's Primary Insurance Company                    Are sexual abuse claims alleged? NO
(if known): None



      THE INFORMATION PROVIDED ON THIS FORNI. CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? YES

 If yes, is that relationship: Business
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:



 Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacled from all documents submitted in the future in accordance with Rule 1:3S·7(b)

 05/04/2020                                                                                        lsi FRANCIS J DE VITO
 Dated                                                                                                            Signed
